        Case 1:20-cv-00452-BLW Document 126 Filed 11/10/22 Page 1 of 5



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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

 JOHN DOE and RANDALL MENGES,

                            Plaintiff,
                                              Case No. 1:20-cv-452
         v.

 LAWRENCE WASDEN, Attorney General of
 the State of Idaho; KEDRICK WILLS,           STIPULATION FOR DISMISSAL
 Colonel of the Idaho State Police, LEILA     AND PERMANENT INJUNCTION
 MCNEILL, Bureau Chief of the Idaho State
 Police Bureau of Criminal Investigation;
 and THE INDIVIDUAL MEMBERS OF THE
 IDAHO CODE COMMISSION, all of the above
 in their official capacities,

                                Defendants.
         Case 1:20-cv-00452-BLW Document 126 Filed 11/10/22 Page 2 of 5




    1. Under the terms and conditions set forth in this stipulation, the parties agree to resolve all

claims in the above-captioned action and stipulate to dismissal as outlined herein. All references

to “Defendants” in this stipulation refer to the Defendants named in this action, their successors

automatically substituted as defendants pursuant to the Federal Rules of Civil Procedure (FRCP

25(d) at the time of this order), as well as any other successors in office, and their legal

representatives, agents, employees, servants, attorneys, assigns, and all others in active concert or

participation with them.

    2. Idaho State Police shall remove from the Idaho Sex Offender Registry the three

individuals listed in Exhibit A to this stipulation, which is filed under seal to protect the privacy

of those individuals.

    3. Idaho State Police shall create an internal policy for handling any person who:

        (a) has an out of state conviction prior to June 26, 2003, that is determined to be

        substantially equivalent to I.C. § 18-8304(1)(b) and (f), or;

        (b) has an in-state conviction for I.C. § 18-6605 prior to June 26, 2003, and is not

        registered on the Idaho Sex Offender Registry as of the date of the Order; and

        (c) has no other registerable offense beyond those described above in (a) or (b).

    4. Idaho State Police shall remove all persons described in Paragraph 2 above as

expeditiously as possible, and in no event, not later than twenty-one days from the date of entry

of this Stipulation.

    5. Idaho State Police shall mail a written notification to all persons described in Paragraph 2

above within twenty-one days of the entry of this Stipulation informing them that they have been

removed from the Idaho Sex Offender Registry and will no longer have to register as sex

offenders in the State of Idaho.
         Case 1:20-cv-00452-BLW Document 126 Filed 11/10/22 Page 3 of 5




   6. Idaho State Police shall, within ninety days of the entry of the Court’s Order adopting this

stipulation, expunge all records in its possession indicating that all persons described in

Paragraph 2 were ever subject to registration on the Idaho Sex Offender Registry.

   7. Idaho State Police shall, within ninety days of entry of the Court’s Order adopting this

stipulation, provide notification to all agencies that Idaho State Police provided information to

about the registration of each person described in Paragraph 2 (including courts, police

departments, sheriff’s departments, and the Federal Bureau of Investigation) that each person

described in Paragraph 2 has been removed from the Idaho Sex Offender Registry and is no

longer subject to the requirements of the Sexual Offender Registration Notification and

Community Right-To-Know Act. This provision does not require Idaho State Police to contact

agencies it has not been in contact with.

   8. Idaho State Police shall, within ninety days of the entry of the Court’s Order adopting this

stipulation, provide notification to the sheriff’s office of the individual’s county of residence for

all persons described in Paragraph 2 that each person described in Paragraph 2 above has been

removed from the Idaho Sex Offender Registry and is no longer subject to the requirements of

the Sexual Offender Registration Notification and Community Right-To-Know Act.

   9. Consistent with the terms of the Order re: Stipulation for Protective Order entered by the

Court on April 1, 2022, Defendants shall not disclose the identity or any identifying information

of plaintiff John Doe, or the identity of the non-plaintiff who is removed from the Idaho Sex

Offender Registry, to members of the media or the public or to any person, group or organization

that is not involved in removing them from the Idaho Sex Offender Registry and/or granting the

other relief necessary to effect their removal from the Idaho Sex Offender Registry and/or any

person or entity not necessary to execute this Order.
         Case 1:20-cv-00452-BLW Document 126 Filed 11/10/22 Page 4 of 5




    10. Idaho State Police shall remit to plaintiffs $275,000 in attorneys’ fees. Defendants will

submit the request for payment to the Idaho Board of Examiners no later than December 31,

2022. If not approved by the Idaho Board of Examiners for payment from the Constitutional

Defense Fund, then Idaho State Police shall pay plaintiffs’ counsel $25,000 on July 1, 2023 and

submit the remaining $250,000, plus interest, as part of the Fiscal Year 2025 budget request to

the Legislature. Those monies, if appropriated, will be payable on July 31, 2024. Interest shall

begin accruing July 1, 2023 at the rate of 4.4%, in the spirit of 28 U.S.C. § 1961. Failure to

appropriate state funds shall not relieve Defendants’ obligation to remit to plaintiffs $275,000

plus interest.

        Dated this 10th day of November, 2022.

                                                     STATE OF IDAHO
                                                     OFFICE OF THE ATTORNEY GENERAL


                                               By:    /s/ Leslie M. Hayes
                                                     Leslie M. Hayes
                                                     Deputy Attorney General
                                                     Counsel for Defendants

        Dated this 10th day of November, 2022.

                                                      LAW OFFICE OF MATTHEW STRUGAR

                                               By:    /s/ Matthew Strugar
                                                      Matthew Strugar

                                                      NEVIN BENJAMIN & MCKAY LLP

                                               By:    /s/ Debra Groberg
                                                      Debra Groberg

                                                      ACLU OF IDAHO

                                               By:    /s/ Aadika Singh
                                                      Aadika Singh

                                                      Attorneys for Plaintiffs
        Case 1:20-cv-00452-BLW Document 126 Filed 11/10/22 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on November 10 2022 I filed electronically the foregoing with the
Clerk of the Court using the CMF/ECF filing system that served a true and correct copy of the
foregoing to the CMF/ECF participants listed below:

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Attorneys for Defendants

                                     ___/s/___________________
                                     Matthew Strugar
